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                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLORADO
                              Honorable Sidney B. Brooks

In re:                                           )
                                                 )                           Bankruptcy Case No.
LINDA SUZANNE RUSSELL                            )                                13-26137 - SBB
SS#xxx-xx-8419                                   )                                    Chapter 13
                                                 )
                                                 )
Debtor(s).                                       )

  ORDER DISMISSING CHAPTER 13 CASE PRIOR TO CONFIRMATION OF PLAN

       THIS MATTER came before the Court for a hearing on Wednesday, December 4, 2013,
regarding confirmation of Debtor(s)’ Chapter 13 Plan of Reorganization and Objections thereto.
In accordance with the findings of the Court entered on the record at the hearing, the Court

         DOES FIND as follows:

         1.    Cause exists for dismissal of this case pursuant to 11 U.S.C. § 1307.
         2.    No plan has been confirmed.
         3.    No request for delayed revestment of property of the estate has been made.

         IT IS THEREFORE ORDERED as follows:

         1.    The within case is hereby DISMISSED. The Clerk of the Court shall serve this
               Order on all creditors and parties-in-interest within fourteen days.

         2.    In accordance with 11 U.S.C. §§ 349(b)(1) and (2), any transfer avoided under
               Section 522, 544, 545, 547, 548, 549 or 724(a) of Title 11, or preserved under
               Section 510(c)(2), 522(i)(2), or 551 of Title 11 is reinstated; any lien voided
               under Section 506(d) of Title 11 is reinstated; and any order, judgment, or transfer
               ordered under Section 522(i)(1), 542, 550, or 553 of Title 11 is vacated.

         3.    All property of the estate, except payments made by the Debtor(s) to the Trustee,
               shall revest in the Debtor(s) as of the date of this Order pursuant to
               11 U.S.C. § 349.

         4.    Payments made by the Debtor(s) shall be retained by the Trustee pending
               payment of claims allowed under Section 503(b) pursuant to 11 U.S.C.
               § 1326(a)(2).

               a.     Any request for allowance of a Section 503(b) claim shall conform with
                      11 U.S.C. § 503 and Rules 9013, 9014 and 2002, Fed.R.Bankr.P. , and be
                      filed after 14 days but within 21 days of the date of this Order.
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             b.    Within 30 days after determination of the last request, if any, for
                   allowance of Section 503(b) claims, the Trustee shall pay all fees imposed
                   by statute and all allowed section 503(b) claims from the Debtor(s)’
                   payments and return any surplus to the Debtor(s).

Dated: Wednesday, December 4, 2013
                                         BY THE COURT

                                         ______________________________
                                         Sidney B. Brooks,
                                         United States Bankruptcy Judge




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